






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-03-197 CR


____________________



BRYAN KEITH LARKINS, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 84133






MEMORANDUM OPINION (1)


	We have before the Court an appeal by Bryan Keith Larkins from a sentence
pronounced January 13, 2003.  No motion for new trial was timely filed.  The notice of
appeal was filed with the trial court on April 30, 2003, more than thirty days from the date
sentence was imposed in open court.  We notified the parties that the appeal did not appear
to have been timely filed, but received no reply.  The court finds the notice of appeal was
not timely filed.  Tex. R. App. P. 26.2.  No extension of time was timely requested
pursuant to Tex. R. App. P. 26.3.  It does not appear that appellant obtained an out-of-time
appeal.  The Court finds it is without jurisdiction to entertain this appeal.

	It is, therefore, ORDERED that the appeal of this cause be DISMISSED for want
of jurisdiction.

	APPEAL DISMISSED.

										PER CURIAM



Opinion Delivered June 26, 2003 

Do Not Publish

Before McKeithen, C.J., Burgess and Gaultney, JJ.
1. Tex. R. App. P. 47.4.


